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                             UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF MICHIGAN
                                  SOUTHERN DIVISION

UNITED STATES OF AMERICA,

                Plaintiff,

                                                          Case No. 06-CR-20603
vs.                                                       HON. GEORGE CARAM STEEH

MICHAEL HALL,

                Defendant.

_____________________________/

                   ORDER DENYING DEFENDANT'S MOTION
         FOR PRETRIAL DISCLOSURE OF IMPEACHING INFORMATION (#20)

       Defendant Michael Hall moves for pretrial disclosure of impeaching information

regarding all witnesses to be called at trial, who testified before the grand jury, or who

furnished statements during the investigation of this case, including the disclosure of "rap

sheets," prior misconduct or bad acts, promises or consideration given to any government

witness, identification of previous testimony given in any court, grand jury proceeding, or

other similar body or tribunal, or any other evidence material to Hall's guilt or punishment.

The government acknowledges its obligation to disclose impeachment evidence in time for

use at trial.

       Brady v. Maryland, 373 U.S. 83 (1963) did not create a constitutional right to pre-trial

discovery in a criminal proceeding. United States v. Presser, 844 F.2d 1275, 1284 (6th Cir.

1988). As to impeachment material:

       . . . . [T]he government cannot be compelled to disclose impeachment
       material which would be covered by the Jencks Act [18 U.S.C. § 3500]
       relating to any potential government witness, whether it be a witness in the
       case-in-chief or a rebuttal witness. Further, the government need not
       disclose impeaching material in its possession relating to any potential
       defense witness where that impeaching material does not meet the Brady
       test of being material and exculpatory.

Id.   A criminal defendant does not have a general right to pre-trial discovery of
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impeachment evidence where the prosecution denies that the material is exculpatory and

material. Id. at 1283.

       . . . So long as the defendant is given impeachment material, even
       exculpatory impeachment material, in time for use at trial, we fail to see how
       the Constitution is violated. Any prejudice the defendant may suffer as a
       result of disclosure of the impeachment evidence during trial can be
       eliminated by the trial court ordering a recess in the proceedings in order to
       allow the defendant time to examine the material and decide how to use it.

Id.

       The government has recognized its obligation to disclose impeachment evidence

in time for use at trial. Consistent with Brady, Presser, and the Jencks Act, defendant Hall's

motion for pretrial disclosure of impeachment evidence is hereby DENIED.

       SO ORDERED.

Dated: March 8, 2007

                                            s/George Caram Steeh
                                            GEORGE CARAM STEEH
                                            UNITED STATES DISTRICT JUDGE

                                  CERTIFICATE OF SERVICE

                   Copies of this Order were served upon attorneys of record on
                        March 8, 2007, by electronic and/or ordinary mail.

                                      s/Josephine Chaffee
                                          Deputy Clerk




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